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            ORDERED in the Southern District of Florida on September 10, 2018.




                                                          Mindy A. Mora, Judge
                                                          United States Bankruptcy Court
_____________________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                                                     CASE NO.: 13-36171-BKC-MAM
                                                                   PROCEEDING UNDER CHAPTER 13

   IN RE:

   TERRY GRAHAM SCHUTTE
   XXX-XX-9966
   CAROLINA TAPIA SCHUTTE
   XXX-XX-6890

   _____________________________/
   DEBTORS

            ORDER GRANTING DEBTORS' MOTION TO MODIFY THE CHAPTER 13 PLAN

     THIS CAUSE came before the Court on September 7, 2018 for confirmation of the Debtors' Twelfth
   Modified Chapter 13 Plan. Based upon the record, it is

      ORDERED:


      1. The Debtors' Twelfth Modified Chapter 13 Plan (the "Plan") modified complies with the provisions
         of 11 U.S.C. Section 1325 and is confirmed.
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2. Any claim entitled to priority under 11 U.S.C. Section 507 shall be paid in full, in periodic
   installments, in the order of priority prescribed by the Bankruptcy Code over the period of the Plan
   as required by 11 U.S.C. Section 1322(a)(2), with postpetition interest as required by 11 U.S.C.
   Section 506(b) payable on the secured portion of the claim.

3. The Debtors' first monthly payment to the Trustee under the originally filed Plan was required to
   commence not later than 30 days following October 30, 2013, the date the petition was filed, or
   within 30 days from the date of conversion to Chapter 13.

4. If the Modified Plan does not provide for payments to a secured creditor, such creditor is granted in
   rem stay relief to pursue available state court remedies against any property of the debtor which
   secures the creditor's claim.

5. Any executory contract or unexpired lease of the Debtors' which has not been assumed pursuant to
   court order prior to entry of this Order, or which is not assumed in the Plan confirmed by this Order,
   is deemed rejected upon entry of this order.

6. If the Modified Plan provides for payment to holder(s) of tax certificates on property of the Debtors,
   the following provisions shall apply:

       a. To ensure that the records of the County Tax Collector credit amounts received by certificate
          holders, upon receipt of information pursuant to subparagraph B below, the Tax Collector is
          ordered to adjust the County tax records and reduce both the amount owed on tax certificates
          and the amount of the tax lien to reflect payments made by the Chapter 13 Trustee to
          certificate holders under the confirmed plan.

       b. The Tax Collector shall be served with any order entered post-confirmation which (a)
          dismisses or converts this case; (b) grants stay relief to the holder of a secured claim on the
          property subject to the tax certificates; (c) approves a sale or refinancing of the property
          subject to the tax certificates; (d) modifies the plan to eliminate further payments to one or
          more certificate holders; or (e) discharges the debtor(s) upon completion of the plan. Upon
          receipt of any such order, the Tax Collector shall request a ledger from the Chapter 13
          Trustee reflecting the amounts paid to certificate holders under the confirmed plan, or obtain
          the ledger information by accessing the Chapter 13 Trustee's website.

       c. During the period in which the certificate holders are receiving payments under the
          confirmed plan, unless otherwise ordered, the Tax Collector is enjoined from accepting a
          redemption payment for any certificate which is included in the plan. This injunction will
          dissolve without further order of the court if (a) one of the orders described in subparagraph
          B is entered; and (b) the County has complied with the requirements in subparagraph A by
          reducing both the amount owed on any certificate paid or partially paid under the Plan and
          the amount of the tax lien by the amount paid to the certificate holder as reflected in the
          Chapter 13 Trustee's ledger.
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  7. If the Debtors fail to timely make any Plan payments to the Trustee, the Trustee may serve a "Notice
     of Delinquency" upon the Debtors and the Debtors' attorney. The Debtors shall have 45 days from
     the date of the "Notice of Delinquency" to make all payments due under the Modified Plan,
     including any payments that become due within the 45-day period. A Debtor seeking to cure the
     delinquency in a subsequent modified plan must file a motion to modify the confirmed plan within
     15 days of the date of the "Notice of Delinquency." If the Debtors are not current with plan
     payments on the 45th day after the date of the "Notice of Delinquency," the Trustee may file and
     serve a report of non-compliance and the case will be dismissed without further notice or hearing.
     Dismissal shall be with prejudice to the Debtors' filing of any new bankruptcy case in any federal
     bankruptcy court in the United States for a period of 180 days from entry of the order of dismissal.
     The Court will not extend these deadlines absent extraordinary circumstances.


  8. To the extent the Modified Plan sought a determination of valuation pursuant to Bankruptcy Rule
     3012, and no objections were filed or any objections were resolved, the terms of the Modified Plan
     will be binding upon the affected secured creditors, and any allowed Proof of Claim will be secured
     only to the extent of the value as provided for in the Modified Plan and unsecured as to the balance
     of the claim.

                                                 ###

ORDER SUBMITTED BY:

ROBIN R. WEINER, ESQUIRE
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ROBIN R. WEINER IS DIRECTED TO SERVE COPIES OF THIS ORDER UPON THE PARTIES
LISTED AND FILE A CERTIFICATE OF SERVICE.
